                     IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO


 AL-RASHAAD R. CRAFT,

               Plaintiff,
 vs.                                                Case No. 17-CV-00469-NF-KHR

 CHAD WRIGHT, in his official and
 individual capacities, and AHMAD
 WHITE, in his official and individual
 capacities,

               Defendants.


 ORDER ON DEFENDANTS’ MOTION TO STRIKE THE AFFIDAVIT OF WILLIE
            HENRY AND SETTING SUR-REPLY DEADLINE


       Defendants move (ECF No. 102) to strike the affidavit of the Honorable Willie

Henry, filed as Exhibit 8 to Plaintiff’s response to Defendants’ motion for summary

judgment. Defendants indicate Plaintiff opposes. Defendants filed the motion to strike

more than three weeks after receiving the affidavit. Because Local Rule 7.4 requires

responses to be filed within 14 days, Plaintiff’s response is due the same day as the hearing

on the summary judgment motion, November 21, 2019.

       Rulings on motions to strike at the summary judgment phase are subject to the abuse

of discretion standard. S.E.C. v. Smart, 678 F.3d 850, 856 (10th Cir. 2012). In this case,

Defendants argue the affidavit contains impermissible statements of the law and a factual

conclusion that is not based on personal knowledge. They also note the appropriateness of
an affidavit from a judicial officer could be questioned, although they appear to stop short

of doing so themselves and offer no citations to authority in support.

       As to the first two arguments, the Court is capable of recognizing and ignoring

inadmissible portions of an affidavit without the need for outright striking of the affidavit.

See, e.g., Jones v. Barnhart, 349 F.3d 1260, 1270 (10th Cir. 2003). As to the third

argument, the affidavit is one piece of evidence among several that Plaintiff presents in

support of the same fact issues. If the Court finds Plaintiff’s other evidence is sufficient

for his claims to survive summary judgment, or that his claims fail to survive for other

reasons, the Court need not address the affidavit’s propriety overall.

       Although generally when a hearing is set on a dispositive motion this Court does

not permit replies, this Court also generally prepares a draft order before a dispositive

motion hearing. It would therefore be more helpful to the Court to receive Plaintiff’s

arguments before the summary judgment hearing.

       In light of all the above, the Court exercises its discretion to DENY the motion to

strike and treat it instead as a retroactively-authorized reply brief. Plaintiff may sur-reply

in a brief of no more than five pages within seven days of this order.

       IT IS SO ORDERED.

       Dated this 8th day of November, 2019.




                                    NANCY D. FREUDENTHAL
                                    UNITED STATES DISTRICT JUDGE



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